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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

  CARL Y. THOMAS AND ALVIRITA                       §
  MAXINE THOMAS,                                    §
   Plaintiffs,                                      §
                                                    §
  V.                                                §           Civil Action No. 4:18-cv-04328
                                                    §
  U.S. BANK TRUST, N.A., AS                         §
  TRUSTEE OF THE IGLOO SERIES                       §
  II TRUST,                                         §
    Defendant.                                      §

                  DEFENDANT’S DISCLOSURE OF INTERESTED PERSONS


         NOW COMES, Defendant U.S. BANK AND TRUST NATIONAL ASSOCIATION, AS

TRUSTEE OF THE IGLOO SERIES II TRUST (“U.S. Bank”) and hereby certifies that the

following persons or entities have a financial interest in the outcome of this litigation:

         1.    Plaintiff CARL Y. THOMAS. is a resident of Texas and has a home address of 614

BOLD RULER, STAFFORD, TEXAS 77477.

         2.    Plaintiff ALVIRITA MAXINE THOMAS. is a resident of Texas and has a home

address of 614 BOLD RULER, STAFFORD, TEXAS 77477.

         3.    Defendant “U.S. Bank” is a Delaware Trust.

         4.    RAY L. VELA and RICHARD E. ANDERSON are counsel for the Defendants and

have a business address of ANDERSON VELA, LLP, 4920 Westport Drive, The Colony, Texas

75056.




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                                CERTIFICATE OF SERVICE

       I certify that on this the 30th day of November 2018, a true copy of the above document
has been delivered in person to the following pursuant to the Federal Rules of Civil Procedure for
each party listed below.

 CARL Y. THOMAS, SR., Pro Se                         Via e-mail: cytfiindustries@gmail.com
 ALVIRITA MAXINE THOMAS, Pro Se
 614 Bold Ruler
 Stafford, Texas 77477



                                               By: /s/ Ray L. Vela                    .
                                                   RAY L. VELA




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